              Case 18-13926-JDW                             Doc 5     Filed 10/09/18 Entered 10/09/18 13:30:00                      Desc Main
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 Fill in this information to identify your case:
 Debtor 1               Vivian A. Smith
                              Full Name (First, Middle, Last)
 Debtor 2
 (Spouse, if filing)          Full Name (First, Middle, Last)
                                                                     NORTHERN DISTRICT OF
 United States Bankruptcy Court for the                                  MISSISSIPPI                                  Check if this is an amended plan, and
                                                                                                                      list below the sections of the plan that
 Case number:                 18-13926                                                                                have been changed.
 (If known)




Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                            12/17


 Part 1:       Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                           debts must be provided for in this plan.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                           to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                           (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                           is filed. See Bankruptcy Rule 3015.

                           The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                           provision will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2           Debtor(s) will make payments to the trustee as follows:

Debtor shall pay $161.00 ( monthly,               semi-monthly,      weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                         Olin Winchester
                         600 Powder Mill Road
                         East Alton, IL 62024



APPENDIX D                                                                     Chapter 13 Plan                                                 Page 1
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Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3          Income tax returns/refunds.

             Check all that apply
                      Debtor(s) will retain any exempt income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims

3.1          Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

             Check all that apply.
              None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
      Insert additional claims as needed.

3.2          Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                          Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
                          amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below
                          at the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on
                          or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                          of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                          treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                          creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


Insert additional claims as needed.

#For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

       Name of creditor                                              Collateral               Amount per month                         Beginning
 -NONE-                                                                                                                   month

* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District

 For vehicles identified in § 3.2: The current mileage is


 3.3         Secured claims excluded from 11 U.S.C. § 506.

      Check one.

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                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

                           Name of                 Estimated amount            Collateral        Value of collateral       Amount of secured           Interest
                           creditor                of creditor's total                                                                 claim            rate*
                                                   claim #

                           Mississippi
                           Federal
                           Credit                                         2015 Toyota RAV4
                           Union                           $20,984.00     56000 miles                 $14,692.50                  $20,984.00           6.75%



3.4          Motion to avoid lien pursuant to 11 U.S.C. § 522.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                  The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                  which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
                  security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                  order confirming the plan unless the creditor files an objection on or before the objection deadline announced in Part 9 of the
                  Notice of Chapter 13 Bankruptcy Case (Official Form 309I). Debtor(s) hereby move(s) the court to find the amount of the
                  judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount,
                  if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11
                  U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each
                  lien.
                                                                                                                                     Lien identification
                                                                                                                                        (county, court,
                                                                                                      Secured
                                                                                  Lien amount                                       judgment date, date
    Name of creditor                  Property subject to lien                                        amount          Type of lien
                                                                                  to be avoided                                       of lien recording,
                                                                                                    remaining
                                                                                                                                     county, court, book
                                                                                                                                     and page number)
 1st Franklin            48 inch Pioneer TV ($25), 50 inch                           $2,670.00           $125.00 Agreement
 Financial- Oxford       Panasonic Flat Screen Tv ($100), debtor
                         no longer has remainder of collateral and
                         it has been disposed of
 1st Heritage Credit 42 Inch Phillips TV. Debtor no longer has                       $3,585.00             $50.00 Agreement
 - Oxford                remainder of collateral and has disposed
                         of it.
 Republic Finance        Weedeater ($10), Trampoline ($10), Drill                    $5,000.00           $410.00 Agreement
 Of Oxford               ($5), Acer Laptop ($10), Cannon Printer
                         ($15), HP Printer ($30), RCA Stereo ($10),
                         Singer Sewing Machine ($25),
                         Embroidery machine ($40), Cutting
                         Machine ($30), Vinyl Cutting Machine
                         ($25), DVD playe
 Tower Loan Of           Socket and Wrench Set ($10). Debtor no                      $3,500.00             $10.00 Agreement
 Oxford                  longer has remainder of collateral and
                         has disposed of it or it has been
                         previously pledged.

Insert additional claims as needed.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.


 Part 4:      Treatment of Fees and Priority Claims


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4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

                  No look fee:          3,400.00

                   Total attorney fee charged:                       $3,400.00

                   Attorney fee previously paid:                     $0.00

                   Attorney fee to be paid in plan per
                   confirmation order:                               $3,400.00

                  Hourly fee: $             . (Subject to approval of Fee Application.)

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations.

                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:     Treatment of Nonpriority Unsecured Claims
5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $
                    % of the total amount of these claims, an estimated payment of $
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $585.00.
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Other separately classified nonpriority unsecured claims (special claimants). Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

 7.1         Property of the estate will vest in the debtor(s) upon entry of discharge.


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 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ Vivian A. Smith                                                   X
     Vivian A. Smith                                                           Signature of Debtor 2
     Signature of Debtor 1

       Executed on            October 9, 2018                                        Executed on

       211A Highway 30E
       Address                                                                Address
       Oxford MS 38655-0000
       City, State, and Zip Code                                              City, State, and Zip Code

       Telephone Number                                                       Telephone Number


 X     /s/ Karen B. Schneller                                                 Date     October 9, 2018
       Karen B. Schneller 6558
       Signature of Attorney for Debtor(s)
       126 North Spring Street
       Post Office Box 417
       Holly Springs, MS 38635
       Address, City, State, and Zip Code
       662-252-3224                                                           6558 MS
       Telephone Number                                                       MS Bar Number
       karen.schneller@gmail.com
       Email Address




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